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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


SIMON TUSHA, et al.,                          :
                                              :
                      Plaintiff,              :
                                              :
                v.                            :    Civil Action No. 21-494-RGA
                                              :
PEDIATRIC ASSOCIATES, P.A., et al.,           :
                                              :
                      Defendants.             :



                                              ORDER

        WHEREAS, on April 5, 2021, Plaintiffs filed a motion for preliminary

injunction and protection from abuse order (D.I. 5) and a motion for production of documents

(D.I. 7);

        WHEREAS, on June 21, 2021, Plaintiff Simon Tusha filed two motions seeking to

withdraw the motion for preliminary injunction and protective from abuse order and motion for

production of documents (D.I. 34; D.I. 35);

        WHEREAS, Defendants do no opposed the requests to withdraw (D.I. 36);

        NOW THEREFORE, IT IS HEREBY ORDERED that, the motions to withdraw (D.I. 34;

D.I. 35) are GRANTED, and the motion for preliminary injunction and protection from abuse

order (D.I. 5) and the motion for production of documents (D.I. 7) are DISMISSED as

withdrawn.




June 29, 2021                                      /s/ Richard G. Andrews____
Date                                               United States District Judge

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